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 8                   IN THE UNITED STATES DISTRICT COURT FOR THE
 9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,              )   1:10-CR-00131-AWI
                                            )
12                     Plaintiff,           )   PRELIMINARY ORDER OF FORFEITURE
                                            )
13        v.                                )
                                            )
14   MARK McGRATH,                          )
     DUSTIN YORK, and                       )
15   JOSEPH TAYLOR,                         )
                                            )
16                     Defendants.          )
                                            )
17                                          )
18        Based upon the plea agreements entered into between plaintiff
19   United States of America and defendants Mark McGrath, Dustin York,
20   and Joseph Taylor, it is hereby ORDERED, ADJUDGED, AND DECREED as
21   follows:
22        1.    Pursuant to 21 U.S.C. § 853, defendants Mark McGrath,
23   Dustin York, and Joseph Taylor’s interests in the following property
24   shall be condemned and forfeited to the United States of America, to
25   be disposed of according to law:
26              a.    Grow Equipment: 65 sets of bubble bags,
                b.    Grow Equipment: 42 Lumatek - LK1000
27                    transformers,
                c.    Grow Equipment: 9 1000 watt transformers,
28              d.    Grow Equipment: Nextgen transformer,
                e.    Grow Equipment: 51 Hydrofarm reflective



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 1                     light hoods,
                f.     Grow Equipment: 2 Carbon Filers,
 2              g.     Grow Equipment: 2 Sentinel CO2 generators,
                h.     Grow Equipment: 2 Bug fumigation canisters,
 3              i.     Grow Equipment: Trim Reaper - Marijuana
                       trimmer,
 4              j.     Grow Equipment: Water filter, and
                k.     Grow Equipment: 2 Vent Fans 10".
 5
 6        2.    The above assets were used, or intended to be used, in any
 7   manner or part, to commit, or to facilitate the commission of a
 8   violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(A), and 856.
 9        3.    Pursuant to Rule 32.2(b), the Attorney General (or a
10   designee) shall be authorized to seize the above-listed property.
11   The aforementioned property shall be seized and held by the United
12   States Marshal Service in their secure custody and control.
13        4.   a.    Pursuant to 21 U.S.C. § 853(n) and Local Rule 171, the
14   United States shall publish notice of the order of forfeiture.
15   Notice of this Order and notice of the Attorney General’s (or a
16   designee’s) intent to dispose of the property in such manner as the
17   Attorney General may direct shall be posted for at least 30
18   consecutive days on the official internet government forfeiture site
19   www.forfeiture.gov.     The United States may also, to the extent
20   practicable, provide direct written notice to any person known to
21   have alleged an interest in the property that is the subject of the
22   order of forfeiture as a substitute for published notice as to those
23   persons so notified.
24              b.     This notice shall state that any person, other than
25   the defendants, asserting a legal interest in the above-listed
26   property, must file a petition with the Court within sixty (60) days
27   from the first day of publication of the Notice of Forfeiture posted
28   on the official government forfeiture site, or within thirty (30)




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 1   days from receipt of direct written notice, whichever is earlier.
 2        5.      If a petition is timely filed, upon adjudication of all
 3   third-party interests, if any, this Court will enter a Final Order of
 4   Forfeiture pursuant to 21 U.S.C. § 853, in which all interests will
 5   be addressed.
 6   IT IS SO ORDERED.
 7
     Dated:         November 9, 2011
 8   0m8i78                               CHIEF UNITED STATES DISTRICT JUDGE
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